          Case 5:21-cr-00082-DAE Document 8 Filed 02/24/21 Page 1 of 1




                                            UNITED STATES DISTRICT COURT
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                                             WESTERN DISTRICT OF TEXAS                                     2021
                                                SAN ANTONIO DIVISION                               U S DISTRICT CLERK


 UNITED STATES OF AMERICA
                                                          S2i1C1?
 V.                                                                INDICTMENT
 CALEB NATHANIEL OLIVER                                            [Violation: Illegal Possession of a
                                                               I
                                                                    Machine Gun, 18 U.S.C. § 922(o)]

 THE GRAND JURY CHARGES:

                                                       COUNT ONE
                                                    [18 U.S.C. § 922(o)]

              On or about February 5, 2021, in the Western District of Texas, the Defendant,

                                                CALEB NAThANIEL OLIVER,

did knowingly possess a machinegun, that is, a Glock 17 9mm, Serial Number GHN7O7 which

has been modified by the installation of a full-auto sear which replaced the backplate on the slide

in order to make it fully automatic, in violation of Title 18, United States Code, Sections 922(o)

and 924(a)(2).




ASHLEY C. HOFF
United States Attorney
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WILLIAM R. HARRIS
Assistant United States Attorney
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MARK ROOMBERG
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